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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA                         )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              ) Dist. No. 03-cr-40024-JPG
                                                 ) App. No. 04-1431
JOHN S. PENROD,                                  )
                                                 )
       Defendant.                                )

                               MEMORANDUM AND ORDER

       This matter comes before the Court on a limited remand from the United States Court of

Appeals for the Seventh Circuit pursuant to United States v. Paladino, 401 F.3d 471 (7th Cir. 2005).

Paladino set forth a procedure to address criminal cases on appeal where the district court imposed

a sentence prior to the Supreme Court’s decision in United States v. Booker, 125 S. Ct. 738 (2005).

In Booker, the Supreme Court found the application of mandatory federal sentencing guidelines as

written unconstitutional. Id. at 746, 749-50. However, the Supreme Court held that the proper

remedial measure to save the guidelines was to strike the portions of the Sentencing Reform Act of

1984 that make application of the guidelines mandatory as opposed to advisory: 18 U.S.C. §§

3553(b)(1) and 3742(e). Id. at 764-67. Those provisions having been stricken from the Sentencing

Reform Act, judges, “while not bound to apply the Guidelines, must consult those Guidelines and

take them into account when sentencing.” Id. at 767; see 18 U.S.C. § 3553(a)(4) & (5). Paladino

asks sentencing courts to determine whether particular sentences would be any different under

advisory sentencing guidelines. Paladino, 401 F.3d at 484.

       Defendant John S. Penrod (“Penrod”) was convicted by a jury on August 20, 2003, of one

count of conspiring to distribute fifty grams or more of crack cocaine in violation of 21 U.S.C. §§

841(a)(1), 841(b)(1)(A) and 846 (count 1), and of four counts of distributing less than 5 grams of

crack cocaine in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) (counts 17-20). The statutory

sentencing range for count 1 is ten years (120 months) to life, 21 U.S.C. § 841(b)(1)(A), and for
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counts 17 to 20 is up to twenty years (240 months). At the sentencing on January 30, 2004, the

Court found that Penrod’s relevant conduct was at least 500 grams but less than 150 kilograms of

crack cocaine, yielding a base offense level of 36 under U.S.S.G. § 2D1.1. The Court increased his

offense level by 2 under U.S.S.G. § 3C1.1 because he testified falsely at trial, which yielded a total

offense level of 38. The Court found that Penrod’s criminal history category was VI and that his

sentencing range was therefore 360 months to life. The Court sentenced Penrod to serve 384

months in prison for count 1 and 240 months in prison, the statutory maximum, for counts 17 to 20,

all sentences to run concurrently.

       On May 20, 2005, the Court of Appeals ordered a limited remand of this case for the Court

to determine whether, if it was required to resentence Penrod after Booker and under advisory

sentencing guidelines, it would reimpose the original sentence. See Paladino, 401 F.3d at 484. The

Court solicited the views of counsel and each side has made a written submission. The government

argues that Penrod’s sentence is reasonable under 18 U.S.C. § 3553. On the other side, Penrod

argues that a lower sentence would avoid unwarranted sentencing disparity (1) between crack

cocaine offenders and powder cocaine offenders, (2) between crack cocaine offenders whose

relevant conduct is similar but which falls into different categories under U.S.S.G. § 2D1.1. based

only on estimates, and (3) between him and his codefendants’ sentences. Penrod also argues that

the nature and circumstances of the offense and his history and characteristics – his drug addiction

and his age – warrant a lower sentence.

       The Court has reviewed the memoranda and has determined that if it was required to

resentence Penrod after Booker and under advisory sentencing guidelines, it would reimpose the

same sentence. The Court has considered the factors set forth in 18 U.S.C. § 3553(a) and believes

that a 384-month sentence on count 1 and a 240-months sentence on counts 17-20 are sufficient but

not greater than necessary to effect the purposes of the Sentencing Reform Act of 1984.




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       With respect to the specific arguments raised by Penrod in his Sentencing Memorandum, the

Court has considered his argument for the need to avoid unwanted sentencing disparities and the

argument that Penrod’s sentence is far out of proportion to those imposed on others engaged in

similar conduct. The argument that Penrod’s sentence should be lower because of the extreme and

unwarranted disparity between crack cocaine offenders and powder cocaine offenders is without

merit and need not be addressed. Similarly, the Court is not persuaded by the argument that because

his sentence is considerably longer than others involved in this conspiracy that his sentence should

therefore be reduced.

       Penrod has admitted that he has a history of burglaries. In fact, his criminal history is

horrendous and at the sentencing hearing, this Court did not sentence Penrod at the low end of the

guideline range, but in fact sentenced him two years above the low end of the guidelines based upon

the defendant’s extensive criminal history, his lack of remorse, as was evidenced by his letter to the

court, as well as his participation involvement in this conspiracy. The Court went on further to say

that even considering his history and personal characteristics as a drug addict, a sentence of 384

months was warranted.

       For these reasons, the Court would reimpose the same sentence on Penrod were it required

to resentence him today.

       The Court DIRECTS the Clerk of Court to send a copy of this order to the Court of Appeals.

IT IS SO ORDERED:

       Dated: August 30, 2005


                                                 s/ J. Phil Gilbert
                                                 U. S. District Judge




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